                                                                           CLERK'
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                                                                               JUL        UDLEY CLERK
                        IN THE UN ITED STA TES D ISTRICT COURT                BY;
                       FOR Tlv W ESTERN D ISTRICT OF V IRGINIA                        P     C
                             CHAR LOU ESV ILLE DIVISION


CHA RLES W IM ER,
                                                   CivilA ction N o.3:19CV0001
       Plaintiff,
                                                   M EM O M NDU M O PINIO N
V.
                                                   By:H on.G len E.Conrad
SUjAN WHITLOCK,etaI.,                              SeniorUnited StatesD istrictJudge

       D efendants.


       CharlesW imer,proceeding pro K ,com m enced thisaction by filing a form com plaintand a
                                      .




motion forinjunctivereliefagainstthe GeneralDistrictCourtofCulpeperCounty,theCircuit
Courtof Culpeper County,the Courtof Appeals of V irginia,and three individual defendants,
Susa'n W hitlock,D ale Durrer, and CynthiaM ccoy. The plainti
                                                            ffhasnotpaidthefilingfeebut
w illbe granted leaveto proceed LRformapauperisforpurposesofinitialreview ofhiscomplai
                               .                                                     nt.
Forthe follow ing reasons,the courtconcludesthatthe case m ustbe dism issed forfailure to statea

claim,pursuantto28U.S.C.j1915(e)(2)(b)(ii).
                                          Backzround

       Thefollowingfactsaretakenfrom thecomplaint,theaccompanyingmotionforinjunctive
relief,and public records of state courtproceedings related to the case. See Philips v.PittCty.

Mem.Hosp.,572F.3d 176,180(4th Cir.2009)(noting thatcourtsStmay properly takejudicial
notiçeofmattersofpublicrecord''whenreviewingacomplaint).
       A ccording to the written subm issions, W im er has a learning disability that affects his

ability to read and w rite. ln Decemberof2016,W im erwascited in CulpeperCounty forfailing

to have hisvehicle inspected and fordriving w ithouta seatbelt. H e received tw o sum m onsesto




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appearin GeneralD istrictCourton the alleged trafficviolations. W im erim m ediately wentto the

courthouseandrequestedaccommodationsundertheAmericanswithDisabilitiesAct(<W DA'').
W im erallegesthatform erG eneralD istrictCourtJudge D ale D urrerdenied hisrequestbased on

tsoutdated''ADA policiesand standards. M ot.forlnj.Relief 1,Dkt.No.2-1. W imerwas
ultim ately convicted ofboth traffic offenses.

       W im erappealed to theCircuitCourtofCulpeperCounty,where he appeared before Judge

Susân W hitlock. W imerclaims thatJudge W hitlock responded in a defensive and aggressive

mannerwhen he inquired aboutaccommodations underthe ADA,and thatshe Gtrefuseld)to
comply''w ith the statute. Id.at2. W im erproceeded to trialin Aprilof2018,atw hich time he

wasfound guilty ofboth trafGc offenses.

       W hen W im er returned to the Circuit Courtto file an appealto the Courtof Appeals of

V irginia,an employee nam ed Tom Buckley assisted him in com pleting the necessary form s.

W im erthen spoketo an individualw ith the lastnam e ofShelton attheCourtofAppeals. Shelton

suggested thatW im ercontactReneeFlem ing M ills,who servesasthe AD A ççcoordinator''forthe

statejudicialsystem. Id. However,W imerdeclinedtodososincethatwasCtnot(Wimer's)job.''
ld. Recordsfrom the CourtofAppealsofV irginiaindicate thatW im er'sappealw asdism issed on

October 11,2018.

       On January 7,2019,W imerfiled the instantaction againstJudge W hitlock;Judge Durrer;

Cynthia M ccoy, the Clerk of the Court of A ppeals; and al1 three state courts. In his form

complaint,W im erindicatesthattheaction isbroughtunderthe AD A . W im erdirectsthecourtto

Ctsee (the)attached''documentin responseto being asked to state whatreliefhe is seeking.
Compl.5,Dkt.No.2. lntheattachedçtmotionforinjunctiverelief,''W imerindicatesthatTom




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    Buckley can confirm thatthe CircuitCourtdoesnothaveapolicy regarding reading and writing

    accommodations,andthatithasfailedtocomplywiththeADA. M ot.forlnj.Relief3.
                                          Standard ofR eview

           Under28U.S.C.j1915(e),whichgovernsir!formapauperisproceedings,thecourthasa
    mandatorydutytoscreeninitialfilings. ErilineCo.S.A.v.Johnson,440F.3d648,656-57(4th
    Cir.2006). Thecourtmustdismissacase$$atanytime''ifthecourtdeterminesthatthecomplaint
    itfaiistostateaclaim onwhichreliefmaybegranted.'' 28U.S.C.j1915(e)(2)(B)(ii).
           The standardsforreviewing acomplaintfordismissalunderj 1915(e)(2)(B)(ii)arethe
    sam e as those w hich apply w hen a defendantm oves for dism issalunder FederalRule of Civil

    Procedure 12(b)(6). De'laonta v.Angelone,330 F.3d 630,633 (4th Cir.2003). Thus,in
    review ing a com plaintunderthisstatute,the courtm ustacceptal1w ell-pleaded factualallegations

    as true and view the complaint in the lightm ostfavorable to the plaintiff. Philips,572 F.3d at

    180. To survivedism issalforfailure to statea claim ,GEa com plaintm ustcontain sufficientfacm al

    m atter,accepted astrue,to 'state aclaim forreliefthatisplausible on itsface.''' A shcroftv.lqbal,

    556.17.5.662,678(2009)(quotingBellAtl.Corp.v.Twombly,550U.S.544,570(2007:.
                                               D iscussion

           Liberallyconstrued,W imer'scomplaintseeksinjunctivereliefunderTitle11oftheADA,
    which providesthattçno qualified individualw ith a disability shall,by reason ofsuch disability,be

    excluded from participation in orbedenied thebenefitsofthe services,program s,oractivitiesofa

    publicentity,orbesubjecttodiscriminationby anysuchentity.''* 42U.S.C.j12132. Forthe



             #ttTitle11oftheADA wasexpressly modeledafter5504 oftheRehabilitationActy''Duvallv.Kitsap,260
    F.3d 1124,1135(9thCir.2001),which Wimeralso citesinhismotionforinjunctiverelief. Totheextentthat,
    WiMer'swritten submissions could be construed to asserta claim for injunctive relief underj 504 ofthe
    RehabilitationAct,29U.S.C.j794,such claim failsforthesamereasonssetforthbelow,



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follpwing reasons, the court conoludes that the com plaint fails to state a plausible claim for

injunctivereliefagainstthenameddefendants.
        First,even assumingthatW imerwassubjected to unlawfuldiscrimination,he hasnot
allegedsufGcientfactsto establishthathehasstandingtoseekinjunctivereliefundertheADA.
Becauseinjunctionsregulatefutureconduct,apartyhasstandingtosueforinjunctivereliefonly
whenthereisaddrealorimmediatethreat''thatthepartywillsufferaninjuryinthefuture. Cit'yof
Los'Angeles v. Lyons,461U.
                         S.95,111(1983). Suchan injurymustbelGimminent-'' Gratzv.
Bollinger,539U.S.244,284(2003)($ûToseekforward-looking,injunctiverelief,petitionersmust
show thatthey facean imminentthreatoffutureinjury.''l;O'Shea v.Littleton,4l4 U.Sk488,
495-96 (1974)(dpastexposure to illegalconductdoes notin itself show a presentcase or
controversyregardinginjunctiverelief...ifunaccompaniedby any continuing,presentadverse
effects.'). (CAlthough imminence is concededly a somewhat elastic concept,itcannot be
stretchedbeyonditspurpose,which isto ensurethattheallegedinjuryisnottoo speculativefor
ArticleIllpurposes--thattheinjuryiscertainlvimpending.'' Luianv.DefendersofW ildlife,504
U.S.555,564n.2(2002)(emphasisinoriginal)(citationandinternalquotationmarksomitted).
        In the instant case,the plaintiff fails to allege any real or im m ediate threat of future

discrim ination. lnstead,W im er'scom plaintm erely describespastoccasions on which requested

accom m odations for his learning disability w ere denied,each of which occurred in connection

w   kththetwotrafficinfractionsinCulpeperCounty. Courtrecordsindicatethattheproceedings
arising from those infractionshave com e to an end. W im er doesnotallege thathe is a party to

any other proceedings before the GeneralDistrict Court,the Circuit Courq orthe Courtof

Appeals;thathew illbe appearing in any ofthose state courts in the future;GGorthatthedefendants

would stilldeny (him) access to (requested accommodationsj because of (his) disability.''


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Thomasv.TheSalvationAl'my S.Terr..841F.3d 632,638 (4th Cir.2016)(affirmingthesua
spontedismissaloftheplaintiff'sclaim forlackofstanding);seealsoUpdikev.MultnomahCty.,
870F.3d939,948(9thCir.2017)(holdingthatadeafplaintifflackedstandingtopursuehisclaims
forinjunctive reliefunderTitle11oftheADA and j 504 ofthe Rehabilitation Actwherethe
plaintiffofferedSsnomorethanspeculationandconjecture''astowhetherhewaslikelytoappearin
courtagain asapretrialdetainee orbew ronged again by w ay ofthe state'sfailureto providea sign

lanjuageinterpreter);Shotzv.Cates,256F.3d 1077,1081-82 (11thCir.2001)(holdingthat
plaintiffswith alleged physicaldisabilitiesdid nothavestandingtoseek injunctivereliefunder
Title 11oftheA DA where therew asno allegation thatthey intended to return to the courthouse in

thefuture). lntheabsenceofanyplausiblethreatoffutureharm,thecourtisunabletoconclude
thatW imerhasstandingtopursueaclaim forinjunctivereliefundertheADA. Thomas,841F.3d
at638.

      Second,only publicentitiesaresubjecttotheprovisionsofTitle11oftheADA. See42
U.S.C.j 12132;seealsoCitv& Ctv.ofSanFranciscov.Sheehan,135S.Ct.1765,1773(2015)
(dOp1ypublicentitiesaresubjecttoTitle11.''). Theterm ççpublicentity,''asitisdefinedwithinthe
statute,doesnotincludeindividuals. See42U.S.C.j 1213141). Consequently,tsnoindividual,
includingastatecourtjudge,maybeheldIiableunderTitle11oftheADA.'' Smithv.Glanz.662
F.App'x595,597(10thCir.2016);seealsoBarnesv.Younc,565F.App'x 272,273 (4th Cir.
2014)(noting thatTitle11doesnotprovideforindividualcapacity suitsagainststateofticials);
M .K.v.Sergi.554 F.Supp.2d 175,194 n.11 (17.Conn.2008) (emphasizing thatthere is
lSssuàstantialauthority ...supporting theproposition thatthere isno individualliability under
Section504oftheRehabilitationActorTitle11oftheADA''). Thecourtthereforeconcludesthat




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any clalmgagainsttheJudgesorCOU/ employeesintheirindividualcapacitlesarealsosubled to
dismlssalonthispotmd.

                                    C onelusion

      Forthereasonsstated,thecourtwillpanttheplaintiœ smofon forleavetoproceediq
formspauperis. However,hiscomplaint* 11be dismiKsed wiloutprejudice,puisllnntto28
U-s-c.j1915(e)(2)@ )4li).
      The Clerk isdirededto send copiesofthlsmemorandum opinion and the accompanying

ordertotheplaintlffl

      DATED:This 13-* day ofzanuary, 2019.



                                        SenlorUnhed StatesDle ctJudge




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